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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:16-CR-00183-EFB
12                  Plaintiff,
                                                          PRELIMINARY ORDER OF
13          v.                                            FORFEITURE
14   LAWRENZO C.P. MANZA,
       aka Larry Manza,
15
                    Defendant.
16

17

18          Based upon the plea agreement entered into between plaintiff United States of America and

19 defendant Lawrenzo C.P. Manza, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

20          1.      Pursuant to 16 U.S.C. § 470gg(b) and 28 U.S.C. § 2461(c), defendant Lawrenzo C.P.

21 Manza’s interest in the following property shall be condemned and forfeited to the United States of

22 America, to be disposed of according to law:

23                  a.      Archaeological resources taken from the Emigrant Trail listed in Attachment A
                            hereto.
24

25          2.      The above-listed property constitutes archaeological resources which were used in

26 connection with a violation of 16 U.S.C. § 470ee(a).

27          3.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

28 seize the above-listed property. The aforementioned property shall be seized and held by the U.S. Forest
                                                      1                             Preliminary Order of Forfeiture
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 1 Service, in its secure custody and control.

 2          4.      a.      Pursuant to 28 U.S.C. § 2461(c), incorporated by 21 U.S.C. § 853(n), and Local

 3 Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice

 4 of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the

 5 Attorney General may direct shall be posted for at least 30 consecutive days on the official internet

 6 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,

 7 provide direct written notice to any person known to have alleged an interest in the property that is the

 8 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.

 9                  b.      This notice shall state that any person, other than the defendant, asserting a legal

10 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

11 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

12 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

13          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

14 will enter a Final Order of Forfeiture pursuant to 16 U.S.C. § 470gg(b) and 28 U.S.C. § 2461(c), in which

15 all interests will be addressed.

16          SO ORDERED this 16th day of February, 2017.

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                                                            2                               Preliminary Order of Forfeiture
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                                                Attachment A
 1                                          Archaeological Resources
 2
     Horse and Oxen Shoes
 3
      Quantity                                   Description
 4       5        Large draft horse shoes
 5       3        Standard horse shoes
         3        Cleated standard horse shoes
 6       3        Ox shoes
 7
     Miscellaneous
 8    Quantity                                    Description
 9       1        Brass keyhole cover, 1 and ½” x 1 and ¼”, with 4 nail or screw holes.
                  Has 426 stamped on obverse face.
10         1      “Bail” for can or pot. Constructed of 1/8th” wire, bail is 2 and 1/8th” x 1
                  and ¼”
11
           1      Metal cap gun, vintage 1935 Stevens Buddy
12         1      Large handle 5 and ½” x 3 and 3/8th” metal, has attachments on end for
                  screwing to box or? A single screw hole on each attachment.
13         1      Metal ring 5 and 5/8th” diameter x 2” x 1/8th” thick. Hand wrought, has 2
                  square nails affixed to run thru interior. Possible wagon wheel hub.
14
           1      Large eye bolt ½” diameter wire rod, 1 and 7/8th” diameter
15
     Bullets
16
      Quantity                                    Description
17       5        Lead balls, 5/16” diameter to 7/16th” diameter
         2        Lead bullets, both flattened, one may have been bullet shaped, the other a
18                flattened ball.
19         1      30-30 Super X centerfire, brass shell casing
           1      Brass bullet, not discharged, centerfire, with label on bottom “FMARC”
20                1945
21 Pottery and Glass, Clothing Items

22    Quantity                                   Description
23       1        Flow Blue pottery plate rim fragment
         1        Prossor type white button
24       1        Small brass button with steel hook, 7/8th” wide, 1” deep, 1/8th” shank
25       1        Handle to fork or spoon – has nails/fasteners to affix wood or bone handle

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                                                         3                             Preliminary Order of Forfeiture
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 1 Nails, Screws, Fasteners

 2   Quantity                                    Description
        1       Square cut nail, 1 and ½” length, 4d (penny)
 3
        3       Square cut nails, 2”, 6d (penny)
 4      5       Square cut nails, 2 and ¾”, 9d (penny)
        3       Square cut nails, 3”, 10d (penny)
 5
        2       Large head square cut nails, possible horse or ox shoe, one is 2 and 1/8th”
 6              ca. 7d, and other is 2 and ½” 8d (penny)
        2       Large head square cut nails, 2 and ½” length 8d, with ½” heads
 7
        1       Large head square cut nail, 2 and ¾”, 9d, with ½” head
 8      1       Large head square cut nail fragment, with ¾” head
        1       Square cut spike 5 and 5/8th” long, 5/8th” head
 9
        1       Oblong ring of 1/8th” wire, 1 and ½” wide by 1 and 1/8th” high
10      1       Square shank carriage bolt fragment, 7/16th” square shank, 1” head
11      1       Steel riveted button head 11/16th” dia. 3/8th” high
        1       Steel fastener head, probably had screw base, ½” head, 3/16” shank, 5/8th”
12              base, 5/8th” high
        1       Square, threaded nut (3/8th” threaded hole) with attached 1 and ¼” welded
13              head (with cap)
14      1       Section of small chain, 28” long, ¾” x ½” flat chain links
        1       Harness piece, may be a bit portion. 2 and 3/8th” ring of 3/8th” wire and bit
15              part encircling
16      1       Harness hook with flat locking plate (missing), 3 and 1/4” in size
        1       2 and 7/8th” chain link of 3/16th” wire.
17      1       “U” shaped steel object 3” long x 1 and 3/8th” wide. Has 3/8th” shank with
                flattened tips graded thin for driving into wood. Tips show crimping
18              3/16th” on end, each crimped in opposite directions.
19      1       Staple, 2 and 1/8th” wide x 2” long, with 1/8th” thick, ½” wide. Ends of the
                staple are tapered to a point and crimped for fastening.
20      1       Plate (metal), 5 and 7/8th” x 3” x 1/8th” thick. Has square nails in 4 corners.
                Also has ¾” hand cut hole, off-center
21
        1       4 and ¾” ring of 3/8th” wire
22      1       Steel ring, 8” diameter, 1” wide x 1/8th” thick, hammered wrought steel,
                hand forged
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                                                        4                              Preliminary Order of Forfeiture
